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IN THE UNITED STATES DISTRICT COURT

Outhern Distr
Ct of Tex

SEP 27 2019

David J. Bradley, Clerk of Court

FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

UNITED STATES OF AMERICA
Ex.Rel.(s) ARTHUR MINGUEZ, JR.,
Dr. LARRY POLLOCK,

BRANDY MILLER, and

KELSEY NOBLE

STATE OF TEXAS, Ex.Rel.(s)
ARTHUR MINGUEZ, JR.,

Dr. LARRY POLLOCK,
BRANDY MILLER, and
KELSEY NOBLE

VS.

Lucky A. Chopra MD,

L. Chopra MD, PA, Robert Turner,
Tarik Tewary, Justin Rainer,

Rubin Shah, Henry Smal! MD,

Raj Thakur MD, Huma Haider MD,
Chris Douglas-Oguneko, Mark Previty,

Patricia H. Janki, MD,Pat H. Janki, MD, PA,

Patricia H. Janki, MD, PA D/B/A
xCare Medical Group, Jon Hickey,
Wanda McClelland, Irina Diaz,

John A. Daspit, Adam B. Henderson,

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AD Hospital East, LLC, AD RE Aloha, LLC§
Advanced Diagnostics BA JV Partner LLC, §
Advanced Diagnostics Health System LLC, §

Advanced Diagnostic Hospitals &
Clinics, LLC, Advanced Diagnostics

Management LLP, Advanced Surgeons &

Physicians Network, Inc.,
Care Capital, LLC., Chopra Imaging

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CIVIL ACTION No. (4. 36 16

FILED IN CAMERA
AND
UNDER SEAL

PURSUANT TO 31 U.S.C. §3730 (b)
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Centers, Inc., Cognizant Management
Solutions LLC, Covia Health, LLC,
Diagnostic Interventional and Vascular
Consultants LLC, Interventional,
Vascular & Diagnostics Associates, PA,
Imaging Consultants, Management AD
Hospital East, LLC, Republic Pain and
Anesthesia Consultants, PLLC,

River Oaks Hospital & Clinics, LLC,
Spine, Orthopedic and Pain Surgical
Partners, LLC, Texas Brain Center LLC,
Texas Brain Center Professional
Services, PLLC, Zoo Capital Holdings,LLC §
Interventional Practice Associates, PLLC, §

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Urban Medical LLC, and Advanced §
Medical Group §
COMPLAINT

Pursuant to the “qui tam” provisions of the Federal False Claims Act, 31 U.S.C § 3729 et
seq, (“Federal False Claims Act” or “FCA”), and qui tam Relators Arthur Minguez, Jr., Dr. Larry
Pollock, Brandy Miller, and Kelsey Noble (“Relators”), on behalf of the United States of America
and the State of Texas file this Complaint against the above-named Defendants and allege as

follows:

I. INTRODUCTION AND OVERVIEW

1. This matter stems from a coordinated network and enterprise created and organized by
Defendant Lucky A. Chopra MD who created, owns, manages or directs the employees of
the following (Lucky’s Corporations”) whose actions collectively and individually violate the
laws of the United States and the State of Texas, ultimately, defrauded and continue to
defraud, the Federal and state governments out of millions of dollars. Although other
individuals and companies were actively involved in the activities alleged in this lawsuit, an

initial understanding of “Lucky’s Corporations” and Lucky A. Chopra MD’s position with
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each assists in understanding the inter-relations and intertwined corporate nature of this

enterprise.
Lucky’s Corporations
Name of Entity

L. Chopra, M.D., PA

AD Hospital East, LLC

AD RE Aloha, LLC

Advanced Diagnostics BA JV Partner LLC
Advanced Diagnostics Health System, LLC
Advanced Diagnostics Hospitals and Clinics
Advanced Diagnostics Management, LLP
Advanced Surgeons & Physicians Network, Inc.
CareCapital, LLC

Chopra Imaging Centers, Inc.

Position Held by Lucky Chopra

 

Director & President
Sole Managing Member, President
Manager
Manager
President of its Management Co.
Manager
Managing Majority Partner
Manager
Manager

Director, CEO, Manager

Cognizant Management Solutions, LLC President
Covia Health, LLC Manager
Diagnostic, Interventional & Vascular Consultants LLC Manager
Interventional, Vascular, & Diagnostic Associates, PA Director

Imaging Consultants Director

Management AD Hospital East, LLC Manager
Republic Pain and Anesthesia Consultants, PLLC Manager

River Oaks Hospital & Clinics, LLC

Spine, Orthopedic and Pain Surgical Partners, LLC

President of its Management Co.

Member
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Texas Brain Center, LLC Manager
Texas Brain Center Professional Services, PLLC. Manager
Zoo Capital Holdings, LLC Manager
Interventional Practice Associates, PLLC Manager
(Advanced Diagnostics Hospitals & Clinics LLC D/B/A) Manager
Advanced Medical Group

The organized scheme, enterprise and activities of the Defendant hospital, various clinics,
physicians, attorneys, corporate executives, office personnel, medical personnel, marketers,
and medical/surgical supplies company resulted in the Federal Government and the State of
Texas being defrauded out of millions of dollars from, at least, 2014 to the present. This
fraudulent scheme was perpetrated through various methods including, but not limited to,
self-referrals, over-charging, double billing, unbundling of services, billing for services not

provided, kickbacks, and false advertising.

A common scheme utilized by the Defendants is to have tow truck drivers refer accident
victims to one or more of the Defendant hospitals or clinics for which the tow truck drivers
receive compensation for the referral from one or more of the Defendants. Personal injury
attorneys are also encouraged with remuneration to refer clients to the various corporations
and physicians associated with Lucky Chopra, MD. “Lucky’s Corporations” also pay
medical providers to whom they refer patients or physicians performing services for these
corporations and then mark up the provider’s bill considerably before presenting it to the

patient, insurance company, Medicare, Medicaid, or personal injury attorney.

In addition, AD Hospital East, LLC and many of the other “Lucky’s Corporations” utilize
an RMS (“Referral Management System”) which tracks the referrals of patients which are
received by numerous physicians and participating personal injury and workers
compensation attorneys who are compensated for said referrals. Many receive their
remuneration for referrals disguised as payments for advertising and marketing in an

attempt to conceal their true nature as kickbacks for patient referrals.
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One or more employees with Advanced Diagnostic Hospitals and Clinics have, without
any medical license or expertise, written medical reports, under the direction and specific
instructions of the patient’s attorney. In an effort to enhance the value of a personal injury
or workers compensation claim, the report would include exaggerated findings and
recommendations for medical care, treatments and surgeries that are not medically
indicated or necessary. This same employee regularly reviewed and revised physician
reports prior to their release to be certain they would comply with attorney requests and

support the inflated bills that were issued by the Hospital, Clinic or Physician.

In addition, if a patient is admitted to the Defendant hospital, often they, their insurance
companies, Medicare, Medicaid, or the patient’s personal injury attorney receive fraudulent
bills for services, medications, and supplies provided by the hospital, surgeon,
anesthesiologist, and radiologist billed by a “Lucky Corporation” These fraudulent bills are
created with excessive charges for services or supplies, billing for the same service through
two different “Lucky Chopra” corporations such as an Anesthesiologist bill from both AD
Hospital East, LLC and Republic Pain and Anesthesia Consultants, PLLC., unbundling
of services and supplies, billing for services, medications or supplies not received, for
services or supplies not medically necessary, billing for hospital admission and inpatient
services when outpatient services are indicated, billing drastically inconsistent amounts for
the same anesthesia drugs, and charging for bundled surgical supply kits and then adding

charges for each individual item in the kits.

Urban Medical, LLC, was formed, is managed by, and has as its registered agent
Defendant Wanda McClelland. Ms. McClelland was paid for some time by one of
‘“Lucky’s Corporations” to manage the medical office of Dr. Henry Small which is a

form of kickbacks paid to encourage surgeries at AD Hospital East. Once one of “Lucky's
Corporations” purchased Dr. Small’s surgical practice and billed for his surgeries, Ms.
McClelland began being paid to manage his office by Dr. Small. Wanda McClelland, under
the direction of Dr. Small, orders and purchases surgical supplies, prosthetics or orthotics
from Urban Medical, LLC, her own company, for surgeries performed by Dr.Small at AD
Hospital East, LLC. It is believed that Urban Medical, LLC is a shell corporation that is

merely purchasing supplies for Dr. Small’s surgeries and then billing for them at inflated
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prices to patients, Medicare, Medicaid, insurance companies and personal injury attorneys..
The corporate address for Urban Medical, LLC is an apartment in Houston which is also

listed as Ms. McClelland’s current residence.

Care Capital, LLC, a medical funding corporation owned, directed, or managed by

Lucky Chopra, MD, also purchases some of the accounts receivable from medical
providers to whom it refers patients for the face value of the debt and then fraudulently
multiplies that provider’s actual bill by, typically, up to six (6) times the actual charges
submitted by the medical provider and charges that fraudulent amount to the patient,
insurance company, Medicare, Medicaid, or personal injury attorney. Examples exist
which show referrals to a specialty health care provider by one of “Lucky’s Corporations’
and the provider submits a bill subsequent to the completion of his services for $2,500.

The provider’s bill is paid by Care Capital, LLC which then owns the $2,500 debt.

Care Capital, LLC’s $2,500 debt next appears on one of “Lucky’s Corporation’s” bills to
the patient, insurance company, Medicare, Medicaid or personal injury attorney. These

bills specifically identify the specialty health care provider’s correct name, date of

service, and service provided but the charge has been changed from $2,500 to $15,000. AD
Hospital East, LLC patient bills very often include fees for surgeons, anesthesiologists,
laboratory services, blood tests, radiologists fees and other specialists whose fees are initially
paid by a “Lucky Corporation”. Subsequently, the amount paid by the “Lucky Corporation”
to the provider is drastically increased and the fraudulent bill is then passed to the patient,

Medicare, Medicaid, insurance companies or personal injury attorneys.

Il. PARTIES
PLAINTIFFS:

United States of America: Relators, Arthur Minguez, Jr.. Dr. Larry Pollock, Brandy
Miller and Kelsey Noble bring this action on behalf of the United
States pursuant to the gui fam provisions of the Federal False Claims

Act, 31 U.S.C. § 3729 et seq.
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State of Texas: Relators, Arthur Minguez, Jr., Dr. Larry Pollock, Brandy Miller and
Kelsey Noble bring this action on behalf of the State of Texas

pursuant to the Texas False Claims Act, Texas Human Resources

Code § 36.002 et seq.

RELATORS:

1. Relator Arthur Minguez, Jr. is the CEO and founder of MedSurg A/R Services, Inc., a
Texas based Healthcare Consulting Company specializing in large catastrophic personal
injury cases. Mr. Minguez received his MBA- major Finance, Minor Healthcare
Administration from Drexel University and a BA in Finance from Penn State University. As
a Senior Healthcare Executive with more than 35 years Senior Healthcare Experience, Mr.
Minquez is familiar with Lucky Chopra, MD and his healthcare corporations. In addition,
based upon his extensive experience in the healthcare field, Mr. Minquez is familiar with the
Federal and Texas healthcare laws and regulations, customary and usual charges for medical

and surgical procedures, and the interactions between the two.

2. Relator Dr. Larry Pollock is a Clinical Psychologist specializing in Neuropsychology
and, more specifically, Traumatic Brain Injuries. He attended Stephen F. Austin State
University in Nacogdoches where he received his B.S. in Psychology in 1967. In 1971 he
received his M.S. in Psychology from Syracuse University in New York. After
completing his internship at Baylor College of Medicine in Houston, he returned to
Syracuse University and earned his Ph.D. in Clinical Psychology in 1973. He has practiced
over 35 years and is currently the owner and Director of Project ReEntry in Houston,
Texas. Dr. Pollock has received approximately 152 referrals for neuropsychological

evaluations from “Lucky Corporations” from March 2018 to date.

3. Relator Brandy Miller worked at AD Hospital East, LLC as a Referral Coordinator for
many of the “Lucky Corporations” from August 2016 to July 2017 handling Workers
Compensation patient referrals, personal injury attorney client referrals and private

insurance referrals from outside providers.
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4. Relator Kelsey Noble is the Custodian of Records for Marty Herring & Associates, a law
firm in Houston, Texas. Mrs. Noble has examined and analyzed the law firm’s client files
to provide this Court with evidentiary documentation of the various types of fraudulent
medical billing claims asserted herein. In addition, Mrs. Noble has researched the
Defendants advertising and profiles on the internet and provided the documentation

produced from said research.

DEFANDANTS:

5. Defendant Lucky Chopra MD, aka Lucky Atul Chopra MD, is the Chief Executive
Officer at Advanced Diagnostics Healthcare and associated with all of the entities
listed in Sec. A above. Lucky Chopra MD may be served at his current residence,
3333 Allen Pkwy #PH2 Houston, Texas 77019-1854.

6. Defendant L. Chopra, M.D., P.A. is a professional association organized under the
laws of the State of Texas. Lucky Chopra MD is the Director and Manager of the
association. The Registered Agent of the association is Christopher Harkey who may
be served at 8305 Knight Rd., Houston, Texas 77054.

7. Defendant Robert Turner is the System Chief Operating Officer at Advanced
Diagnostics Hospitals & Clinics and may be served at his current residence, 26127
Sandersgate Lane., Katy, Texas 77494.

8. Defendant Tarik Tewary is the Finance Manager at Advanced Diagnostics
Healthcare and may be served at his current residence, 7726 Tiburon Trail, Sugar
Land, Texas 77479.

9. Defendant Justin Rainer is the Revenue Manager at Advanced Diagnostics
Hospitals & Clinics and may be served at his current residence, 1909 Lexington St.,
Deer Park, Texas 77536.

10. Defendant Rubin Shah is Administrator of AD Hospital East, LLC and the Director
of Pharmacy at Advanced Diagnostics Hospitals & Clinics. Defendant Shah may be
served at his current residence, 7411 Mulrain Drive, Sugar Land, Texas 77479.

11. Defendant Dr. Henry Small is an Orthopedic Surgeon employed by AD Hospital
East, LLC and may be served at his current residence 8001 Crestview Drive, Houston,
Texas 77028 .
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12. Defendant Dr. Raj Thakur is the Director of Interventional Radiology at Advanced
Diagnostics and may be served at his current residence 4538 Oleander Street,
Houston, Texas 77401.

13.Defendant Dr. Huma Haider is an Anesthesiologist who was practicing at the Texas
Brain Institute and currently is the Medical Director of the National Brain Injury
Institute. Dr. Haider may be served at her current residence 5610 Regency Drive, Sugar
Land, Texas 77479-4113.

14.Defendant Chris Douglas-Oguneko is the Chief Executive Officer at Advanced
Physicians and Surgeons Network, Inc. and may be served at his current residence
4110 Woodwind Lane, Houston, Texas 77025-4650.

15. Defendant Mark Previty is the Chief Financial Officer and Controller at Advanced
Diagnostics Hospitals & Clinics and may be served at his current residence
Medical Group and he may be served at his current residence 3333 Allen
Parkway, #1006, Houston, Texas 77019-1840.

16. Defendant Dr. Victoria Do is a family medicine physician practicing with Advanced
Medical Group located at 8305 Knight Road, Houston, Texas 77054. She is also a
Director for Advanced Surgeons & Physicians Network, Inc. Dr. Do can be served at her
current residence 4622 Chaneybriar Avenue, Sugar Land, Texas 77479.

17. Defendant Patricia H. Janki, MD is a physician licensed by the Texas Medical
Board and may be served at her current residence 4031 Turnberry Circle, Houston,
Texas 77025.

18. Defendant Patricia H. Janki, MD, PA D/B/A <Care Medical Group, although the
Professional Association created under the laws of the State of Texas for Dr. Janki
is under the name of Pat H. Janki, MD, PA, the physician advertises on the internet
under the name and D/B/A identified herein. The Professional Association may be
served through its registered agent, Patricia H. Janki at 13601 Woodforest Blvd.,
Houston, Texas 77015.

19. Defendant Jon Hickey is actively marketing for and employed by AD Hospital East,
LLC and may be served at his current residence 14323 Prosper Ridge Drive, Texas
77429.

20. Defendant Wanda McClelland is the Office Manager for Defendant Henry Small
and is also the Owner/Manager of Urban Medical LLC, and may be served at her
current residence 2600 Mid Lane #10, Houston, TX 77027-4921.

21. Defendant Irina Diaz is the Referral Coordinator for AD Hospital East and many
other “Lucky Corporations” which provide health care. She may be served at her
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current residence address 6377 Chevy Chase Drive, # 312 Houston, Texas 77057.

22. Defendant John A. Daspit is a personal injury attorney licensed in the State of Texas
and may be served at his current residence 2006 Helena Street, Houston, Texas
77002.

23. Defendant Adam B. Henderson is a personal injury attorney specializing in
Workers Compensation cases and is licensed by the Texas State Bar. This Defendant
may be served at his current residence 2403 Chatham Creek Court, Houston, TX
77077.

24. Defendant AD Hospital East, LLC is a limited liability company organized under
the laws of the State of Texas. Lucky Chopra MD is the President and Sole-
Managing Member of this Defendant. The Registered Agent for AD Hospital East,
LLC is Christopher Harkey who may be served at 8305 Knight Road, Houston, Texas
77054.

25. Defendant AD RE Aloha, LLC is a limited liability company organized under the
laws of the State of Texas. Lucky Chopra MD is the Manager of the company. The
Registered Agent for AD RE Aloha, LLC is Christopher Harkey who may be served at
8305 Knight Road, Houston, Texas 77054.

26. Defendant Advanced Diagnostics BA JV Partner LLC is a limited liability
company organized under the laws of the State of Texas. The Manager of the
company is Lucky Chopra MD. The Registered Agent of the company is Lucky A.
Chopra who may be served at 8305 Knight Road, Houston, TX 77054.

27. Defendant Advanced Diagnostics Health System, LLC is a limited liability
company organized under the laws of the State of Texas. The Manager of the
company is Cognizant Management Solutions, LLC and the President is Lucky
Chopra MD. The Registered Agent of the company is Christopher Harkey who may
be served at 8305 Knight Road, Houston, Texas 77054.

28. Defendant Advanced Diagnostics Hospitals and Clinics, LLC is a limited liability
company organized under the laws of the State of Texas. The Manager of the
company is Lucky Chopra MD. Advanced Diagnostics East Hospital and 24-Hour
Emergency Center, Advanced Medical Group, Advanced Diagnostics Healthcare,
Spine, Orthopedic and Pain Surgical Partners, LLC and Texas Brain Center, LLC are
also advertised affiliates of Advanced Diagnostics Hospitals and Clinics. The
Registered Agent of the company is Christopher Harkey who may be served at 8305
Knight Road, Houston, Texas 77054.

29. Defendant Advanced Diagnostics Management, LLP is a limited liability
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partnership organized under the laws of the State of Texas with a stated purpose of
“Management, billing and collections for businesses in the outpatient diagnostic
imaging business.” Lucky Chopra MD is the Managing Majority Partner of the
Partnership. Lucky Chopra, the Managing Majority Partner, may be served at the
partnership’s principal office at address is 8305 Knight Road, Houston, Texas 77054.

30. Defendant Advanced Surgeons & Physicians Network, Inc. is a nonprofit
corporation organized under the laws of the State of Texas. The corporation’s three
Directors are Victoria Do MD, Raj Thakur MD and Robert Soule MD and the
Manager is Lucky Chopra MD. The Registered Agent of the corporation is
Christopher Harkey who may be served at 8305 Knight Road, Houston, Texas 77054.

31. Defendant CareCapital, LLC is a limited liability company organized under the
laws of the State of Texas. Lucky Chopra MD is the Manager of the company. The
Registered Agent of the company is Christopher Harkey who may be served at 8305
Knight Road, Houston, Texas 77054.

32. Defendant Chopra Imaging Centers, Inc. is a corporation organized under the
laws of the State of Texas. The Directors of the corporation are Dr. Lucky Chopra
and Dr. Raj Chopra and the CEO and Manager is Lucky A. Chopra MD. The
Registered Agent of the corporation is Christopher Harkey who may be served at 8305
Knight Road, Houston, Texas 77054.

33. Defendant Cognizant Management Solutions, LLC is a limited liability company
organized under the laws of the State of Texas. This company manages Advanced
Diagnostic Health Systems, LLC. The Registered Agent of the company is
Christopher Harkey who may be served at 8305 Knight Road, Houston, Texas 77054.

34. Defendant Covia Health, LLC is a limited liability company organized under the
laws of the State of Texas. Lucky Chopra MD is the Manager of the company. The
Registered Agent of the company is Christopher Harkey who may be served at 8305
Knight Road, Houston, Texas 77045.

35. Defendant Diagnostic, Interventional, and Vascular Consultants PLLC is a
limited liability company organized under the laws of the State of Texas. Lucky
Chopra MD is the Manager of the company. The Registered Agent of the company is
Christopher Harkey who may be served at 8305 Knight Road, Houston, Texas 77054.

36. Defendant Interventional, Vascular, & Diagnostic Associates, PA is a
professional association organized under the laws of the State of Texas with a stated
purpose of “Physician, Medical Services.” Lucky Chopra MD is the sole Director and
the sole Managing Member of the Professional Association.. The Registered Agent of the
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association is Scott Youngblood who may be served at 2014 N Main Street, Pearland,
Texas 77581.

37. Defendant Imaging Consultants is a Domestic Nonprofit Corporation organized
under the laws of the State of Texas. Lucky Chopra MD, Robert Soule, Jr, MD, and
Rajiv Thakur MD are the Directors of the Corporation. The registered agent of the
corporation is C T Corporation System who may be served at 1999 Bryan St., Ste. 900,
Dallas, TX 75201-3136.

38. Defendant Management AD Hospital East, LLC is a limited liability company
organized under the laws of the State of Texas. Lucky Chopra MD is the Manager of
the company. The Registered Agent of the company is Christopher Harkey who may
be served at 8305 Knight Road, Houston, Texas 77054.

39. Defendant Republic Pain and Anesthesia Consultants, PLLC is a professional
limited liability company organized under the laws of the State of Texas. Lucky
Chopra MD is the Manager of the company. The Registered Agent of the company is
Christopher Harkey who may be served at 8305 Knight Road, Houston, Texas 77054.

40. Defendant River Oaks Hospital & Clinics, LLC is a limited liability company
organized under the laws of the State of Texas. The Manager of the company is
Cognizant Management Solutions, LLC. The Registered Agent of the company is
Christopher Harkey who may be served at 8305 Knight Road, Houston, Texas 77054.

41. Defendant Spine, Orthopaedics, & Pain Surgical Partners, LLC is a limited
liability company organized under the laws of the State of Texas. Lucky Chopra MD
is the sole Member of the company. The Registered Agent of the company is Lisa M.
Butcher who may be served at 8305 Knight Road, Houston, Texas 77054.

42. Defendant Texas Brain Center Professional Services, PLLC is a professional
limited liability company organized under the laws of the State of Texas with a stated
Manager of the company. The Registered Agent of the company is Christopher Harkey
who may be served at 8305 Knight Road, Houston, Texas 77054.

43. Defendant Zoo Capital Holdings, LLC is a limited liability corporation organized
under the laws of the State of Texas. Lucky Chopra is the Manager of the company.
The Registered Agent of the company is Christopher Harkey who may be served at
8305 Knight Road, Houston, TX 77054.

44, Defendant Interventional Practice Associates PLLC is a professional limited
liability corporation organized under the laws of the State of Texas, Lucky Chopra
MD, is the Manager of the company. The Registered Agent of the corporation is
Christopher Harkey who may be served at 8305 Knight Road, Houston, Texas 77054.
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45.Defendant Urban Medical LLC is a limited liability company organized under the
laws of the State of Texas. Wanda McClelland is the Manager of the company. The
Registered Agent of the company is Wanda McClelland who may be served at 2600
Midlane #10, Houston, TX 77027.

46. Defendant Advanced Medical Group is an unincorporated Medical Group Practice
located in the same office building as many other “Lucky Corporations” on Knight
Road in Houston. The practice currently consists of three family practice physicians,
Dr. Victoria Do, Dr. Robert Soule and Dr. Archna Vajpayee. Advanced
Diagnostics Hospitals & Clinics LLC advertises that it does business as Advanced
Medical Group and it may be served through their Registered Agent, Christopher
Harkey who may be served at 8305 Knight Road, Houston, Texas 77054.

I. JURISDICTION AND VENUE

1. This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.
§ 1331, and 31 U.S.C. § 3732, the latter of which specifically confers jurisdiction on
this Court for actions brought pursuant to 31 U.S.C. § 3729 and 3730.

2. This Court has jurisdiction over the State of Texas claims herein under 31 U.S.C.
§3732.(b). In addition, this Court has supplemental jurisdiction over claims brought on

behalf of the State of Texas under 28 U.S.C. §1367.

3. This Court has personal jurisdiction over the defendants pursuant to 31 U.S.C.
§ 3732(a) because all of the defendants can be found in, reside, or transact or have

transacted business in this judicial district.

4, None of the allegations set forth in this Complaint are based on a public disclosure of
allegations or transactions in a criminal, civil or administrative hearing, in a
congressional, administrative or General Accounting Office report, hearing, audit or
investigation, or from the news media. There have been no public disclosures of the
allegations or transactions contained herein that bar jurisdiction under 31 U.S.C.

§ 3730(e). Relators each have direct and independent knowledge of the information
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contained in their individual Disclosure Statements and upon which the allegations in this

Complaint are based.

5. None of the allegations or transactions set forth in this Complaint are substantially the
same as allegations or transactions that have been publically disclosed in a Federal
criminal, civil or administrative hearing in which the Government or its agent is a party,
or in a congressional, administrative or Government Accountability Office, or other

Federal report, hearing, audit or investigation, or from the news media.

6. Venue is proper in the United States District Court for the Southern District of Texas
because it is the judicial district in which most of the defendants can be found, reside,

transact business or in which acts proscribed by 31 U.S.C. 3729 occurred.

IV. CAUSES OF ACTION

A. Federal False Claims Act

1. The Federal False Claims Act, 31 U.S.C. §3729(a) et seq., in parts relevant to the claims

asserted herein, provides that any person who

(A) knowingly presents, or causes to be presented, a false or fraudulent claim for

payment or approval;

(B) knowingly makes, uses, or causes to be made or used, a false record or statement

material to a false or fraudulent claim:

2.. Through an organized scheme and persistent practice of overcharging for services,
double billing for the same services through two separate entities, unbundling
services, billing for services not provided, over usage of services, and charging for
services not medically necessary the Defendants presented false or fraudulent claims
for payment or approval; knowingly made, used, or caused to be made or used, a

false record or statement to get a false or fraudulent claim paid or approved by the
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United States Government; conspired to defraud the United States Government by
getting a false or fraudulent claim paid or approved by the United States Government;
and knowingly made, used or caused to be made or used, a false record or statement
to conceal, avoid, or decrease an obligation to pay or transmit money to the
Government. Through this ongoing practice, Defendants, individually and/or
collectively, have defrauded and continue to defraud Medicare and Medicaid out of

millions of dollars of federal funds from, at least, 2014 to the present.

B. “Stark Law” and “Anti-Kickback Statute”

3. 42 U.S.C § 1395nn(a) Ethics In Patient Referrals Act contains the Federal prohibition of

certain referrals and states:

(a) PROHIBITION OF CERTAIN REFERRALS

(1) IN GENERAL Except as provided in subsection (b), ifa physician (or
an immediate family member of such physician) has a financial relationship

with an entity specified in paragraph (2), then—

(A) the physician may not make a referral to the entity for the
furnishing of designated health services for which payment

otherwise may be made under this subchapter, and

(B) the entity may not present or cause to be presented a claim
under this subchapter or bill to any individual, third party
payor, or other entity for designated health services furnished

pursuant to a referral prohibited under subparagraph (A).

(2) FINANCIAL RELATIONSHIP SPECIFIED For purposes of this section, a
financial relationship of a physician (or an immediate family
member of such physician: with an entity specified in this

paragraph is--
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(A) except as provided in subsections (c) and (d), an ownership or

investment interest in the entity, or

(B) except as provided in subsection (e), a compensation
arrangement(as defined in subsection (h)(1)) between the
physician (or an immediate family member of such physician) and the

entity.

4. Dr. Patricia Janki, a Defendant herein, advertizes that she not only accepts Medicare but
also “accepts Medicare-approved amount as payment in full”. Advanced Diagnostics
Healthcare and AD Hospitals and Clinics are also Medicare and Medicaid approved
providers. Dr. Janki was paid $50,000 per month by Dr. Lucky A. Chopra, or one of the
corporate defendants he established and controls, to refer patients from her Family and
Occupational Medicine practice to an AD Hospital, Clinic or other “Lucky Corporation”.
Dr. Janki admitted to one of the Relators herein that she was being paid for referring
patients. In turn, one of Lucky Chopra’s corporations subsequently provided health care
services to Dr. Janki’s referred patients and submitted a bill to the patient, Medicare,
Medicaid, insurance company or personal injury attorney. These activities are a clear
violation of 42 U.S.C. 1395 and witnesses are available to provide the names of additional
paid referring physicians because these payments by “Lucky’s Corporations” for patient
referrals are not limited to Dr. Janki. These referrals create an inherent conflict of interest
because the physician is in a position to benefit financially from the referrals. Such
arrangements encourage over-utilization of services driving up health care costs. In

addition, it can create a captive referral system limiting completion from other providers.

5. The above-described activities also violate 42 U.S.C. §1320 (a) et seq, the “Anti-
Kickback Statute which prohibits the knowing and willful offer, payment, solicitation, or
receipt of remuneration to induce referrals for items or services covered by a government
funded program. The waiver of deductibles offered by Dr. Janki is a clear violation of this

statute as the waiver is considered a kickback to the patient.
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6. One of the corporate defendants controlled by Lucky Chopra, MD, paid the salary of

10.

Dr. Henry Small’s Office Manager as an incentive or kickback for performing surgeries

and treating patients at AD Hospital East.

. In further violation of the Anti-Kickback Statute , one or more of the Defendants have a

financial relationship with a medical supplies and equipment or prosthetics, orthotics and
prosthetic devices and supplies company from which items were purchased and payment
was sought from Medicare and Medicaid as well as private insurance companies, Workers
Compensation, and patients. Wanda McClelland, the Office Manager for Orthopedic
Surgeon Henry Small, MD, orders “hardware” for Dr. Small’s surgeries from Urban
Medical, LLC, a corporation for which Ms. McClelland is the Manager and Registered
Agent. Since the corporate address for Urban Medical, LLC is the same as the apartment
resided in by Ms. McClelland,

. Personal Injury Attorneys John A. Daspit and Adam B. Henderson are also in violation of

the Anti-Kickback Statute by referring clients to AD Hospitals and Clinics and/or other
‘“Lucky’s Corporations”. Both Mr. Daspit and Mr. Henderson repeatedly received
remuneration from AD Hospitals and Clinics and/or other “Lucky’s Corporations in

exchange for their referrals.

. In addition to these actions violating the Anti-Kickback Statute, the Fraud Enforcement

and Recovery Act of 2009 (“FERA”) has made kickbacks per se violations of the Fair

Claims Act.

Defendants have violated and continue to violate the provisions of 42 U.S.C.

§ 1395nn(a)(1), the “Stark Law”, including extensions and amendments provided by
the Omnibus Reconciliation Act of 1993 and the Social Security Act Amendments of
1994 and the Federal Anti-Kickback Statute, 42 U.S.C. §1320a-7b by referring patients
and accepting referrals of patients through a series of illegal kickback arrangements
and by self-referring patients to entities in which one or more of the Defendants

have a financial relationship.
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C. Federal Racketeering Act “RICO Act”

11. The Defendants have violated 18 U.S.C. §1961 (“RICO Act”) through the utilization of the

12..

US mail and internet in the perpetration of fraud by its association in fact and in the creation
of and furtherance of an enterprise by investing proceeds of the pattern of racketeering
activity into the enterprise; and/or by acquiring or maintaining an interest in, or control of,
the enterprise through the pattern of racketeering activity; and/or the Defendants conducted
or participated in the affairs of the enterprise through the pattern of racketeering activity; or
the defendants conspired to do one of the above-described activities in furtherance of the
enterprise. The combined activities of the Defendants in furtherance of the enterprise has
resulted in millions of dollars of fraudulent claims being submitted to and paid by the
Medicare and Medicaid Programs. This case involves far more than excessive and fraudulent
billing by physicians and hospitals. Through a pattern of criminal and unethical activities,
this enterprise, participated in by a multitude of intermingled corporations and individuals in
a variety of professions, has, and continues to invest their time, energy and fraudulent

proceeds to continue to expand this enterprise.

D. The Lanham Act
False Advertising 15 U.S.C. §45(a)(1)(B)

The Lanham Act provides that any person who, in connection with any goods or

services, uses in commerce a false or misleading description of fact, or false or

misleading representation of fact, which in commercial advertising or promotion,
misrepresents the nature, characteristics, or qualities of their services, or commercial
activities shall be liable in a civil action by any person who believes that he or she is or is
likely to be damaged by such activities. The United States Government is likely to be
damaged by these false advertisements because some of the Defendants falsely advertise the
prices for their services and then bill Medicare at significantly higher rates. Advanced
Diagnostics Hospitals and Clinics publishes their pricelist on their website,
www.adhealthcare.com but, in many instances, bills services and medical supplies at

significantly higher prices.
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13. Defendant Huma Haider, MD falsely reports her qualifications and credentials both online
and in print. These advertisements are false, deceptive, or misleading in that they contain
materially false claims or misrepresentations; contain implied false material claims or
implied misrepresentations of material fact; omit material facts; made representations likely
to cause confusion or misunderstanding as to the credentials, education, or licensure of a

health care professional and their abilities to perform the service advertised.

E. Texas Medicaid Fraud Prevention Act

14. AD Hospital East, LLC is a Medicaid approved provider which, along with other
Defendants,have participated in repeated violations of the Texas Human Resources Code
§36.001 et seq, the Texas Medicaid Fraud Prevention Act (“TMFPA”). The “TMFPA”, in

parts relevant to the claims alleged herein, states as follows:

Sec. 36.002. UNLAWFUL ACTS. A person commits an unlawful act if

the person:

(1) knowingly makes or causes to be made a false statement or
misrepresentation of a material fact to permit a person to receive a
benefit or payment under the Medicaid program that is not authorized
or that is greater than the benefit or payment that is authorized;

(2) knowingly conceals or fails to disclose information that permits a person
to receive a benefit or payment under the Medicaid program that is not
authorized or that is greater than the benefit or payment that is authorized;

(3) knowingly applies for and receives a benefit or payment on behalf of
another person under the Medicaid program and converts any part of the
benefit or payment to a use other than for the benefit of the person on
whose behalf it was received...

(9) conspires to commit a violation of Subdivision (1), (2), (3)...

(12) knowingly makes, uses, or causes the making or use of a false record or

statement material to an obligation to pay or transmit money or property
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to this state under the Medicaid program, or knowingly conceals or knowingly
and improperly avoids or decreases an obligation to pay or transmit money or

property to this state under the Medicaid program; or

(13) knowingly engages in conduct that constitutes a violation under Section
32.039(b).

F. Texas Medical Assistance Program

15. The Texas Human Resources Code §32.039 referred to in allegation (14) above contains the
activities subject to penalties under the Texas Medical Assistance Program and, in relevant
parts to the claims alleged herein, states:

(b) A person commits a violation if the person:

(1-c) solicits or receives, directly or indirectly, overtly or covertly any
remuneration, including any kickback, bribe, or rebate, in cash or in
kind for purchasing, leasing, or ordering, or arranging for or
recommending the purchasing, leasing, or ordering of, any good,
facility, service, or item for which payment may be made, in whole or
in part, under the medical assistance program;

(1-e) offers or pays, directly or indirectly, overtly or covertly any
remuneration, including any kickback, bribe, or rebate, in cash or in
kind to induce a person to purchase, lease, or order, or arrange for or
recommend the purchase, lease, or order of, any good, facility, service,
or item for which payment may be made, in whole or in part, under the
medical assistance program;

16. The Defendants, individually and/or collectively, have violated the Texas Medical Fraud
Prevention Act and the Texas Medical Assistance Program prohibitions by knowingly
making, or causing to be made, false statements or misrepresentations of a material fact to
permit a health care provider to receive a payment for services and supplies billed under the
Medicaid Program that is greater than the payments that are authorized. Furthermore, the
Defendants participating in any kickback schemes or referrals of patients for remuneration
or referrals to medical goods suppliers for remuneration are in violation of both the

TMFPA and the Texas Medical Assistance Program regulations.
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G. Texas Patient Solicitation

17. The Texas Occupations Code §102.001 et seq., the Texas Patient Solicitation Act, in parts

relevant to the allegations alleged herein, states:

Sec. 102.001 SOLICITING PATIENTS; OFFENSE.

(a) A person commits an offense if the person knowingly offers to pay or agrees to
accept, directly or indirectly, overtly or covertly any remuneration in cash or in
kind to or from another for securing or soliciting a patient or patronage for or from
a person licensed, certified, or registered by a state health care regulatory
agency.

(b) Except as provided by Subsection (c), an offense under this section is a Class A

misdemeanor.
(c) An offense under this section is a felony of the third degree if it is shown on the trial
of the offense that the person:
(1) has previously been convicted of an offense under this section; or
(2) was employed by a federal, state, or local government at the time of the
offense.

18. Defendant Dr. Janki is in violation of the Texas Patient Solicitation Act by referring
patients to AD Hospitals and Clinics and other “Lucky Corporations” for $50,000 per
month.

19. John A. Daspit, personal injury attorney, is in violation of the Texas Patient Solicitation Act
by referring his clients to AD Hospitals and Clinics and other “Lucky Corporations” for the
opportunity to have the subsequently issued medical reports created or edited, as
instructed by him, to enhance his clients’ personal injury claims.

20. Defendant Adam B. Henderson, a personal injury attorney, is in violation of the Texas
Patient Solicitation Act by referring his clients to AD Hospitals and Clinics and other

“Lucky Corporations” for monthly cash payments of $20,000-50,000 from AD Hospitals
and Clinics and/or other “Lucky Corporations”.

21. Defendant Robert Turner, the CEO of Advanced Diagnostic Hospitals and Clinics, LLC, is
in violation of the Texas Patient Solicitation Act by writing, creating, or editing physician
reports to comply with the instructions of personal injury attorney John A. Daspit in
remuneration for attorney Daspit’s referral of his client(s) to AD Hospitals and Clinics,
LLC.
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22. Defendant Jon Hickey is in violation of the Texas Patient Solicitation Act by providing
remuneration to various tow truck drivers for referring accident victims to AD Hospitals
and Clinics and other “Lucky Corporations”.

23. Lucky A. Chopra, MD, and/or “Lucky Corporations” are in violation of the Texas Patient
Solicitation Act by offering remuneration to physicians, attorneys, and tow truck drivers for

referring patients and/or accident victims to one or more “Lucky Corporations”.
H. Texas Medicaid Fraud and Abuse Program

24. The Texas Administrative Code § 371, which addresses Medicaid and other Health and
Human Services Fraud and Abuse Program, in relevant parts to the claims alleged herein,
“(b) A person is subject to administrative actions or sanctions if the person ...
(12) fails to disclose documentation of financial relationships necessary to establish
compliance with §1877 and §1903(s) of the Social Security Act or 42 C.F.R.
§411.350 - .389 (Stark I, II, and HI), the federal Anti-Kickback Statute, the
Affordable Care Act, or other state or federal law prohibiting self-dealing or self-
referral.”

25. The Texas Human Resources Code §32.039, a state law prohibiting self-dealing or self-
referrals, in relevant parts to the activities of Defendants Wanda McClelland, Dr. Henry
Small, and Urban Medical alleged herein, states:

(b) A person commits a violation if the person:
(1) presents or causes to be presented to the commission a claim that
contains a statement or representation the person knows or should
know to be false:
(1-a) engages in conduct that violates Section 102.001, Occupations Code;
(1-b) solicits or receives, directly or indirectly, overtly or covertly any
remuneration, including any kickback, bribe, or rebate, in cash or in
kind for referring an individual to a person for the furnishing of, or
for arranging the furnishing of, any item or service for which payment
may be made, in whole or in part, under the medical assistance
program, ...;
(1-c) solicits or receives, directly or indirectly, overtly or covertly any
remuneration, including any kickback, bribe, or rebate, in cash or in
kind for purchasing, leasing, or ordering, or arranging for or

recommending the purchasing, leasing, or ordering of, any good,
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facility, service, or item for which payment may be made, in whole or

in part, under the medical assistance program;

I. False Advertising

26. The Texas Occupations Code §102.004, the Texas Patient Solicitation Act provision
applicable to advertising, states:

Sec. 102.004. Applicability to Advertising, Section 102.001 does not prohibit
advertising, unless the advertising is:

(1) false, misleading, or deceptive; ...

27. Advanced Hospitals and Clinics publishes its hospital charges for procedures, facilities,
pharmaceuticals, and medical/surgical supplies at www.adhealthcare.com. In numerous
instances, Advanced Hospitals and Clinics billed at prices different than its advertised
published prices in violation of The Texas Occupations Code §102.004.

28. The Texas Administrative Code § 164.4 in parts relevant to claims against Dr. Huma
Haider, states as follow:

a) A physician is authorized to use the term "board certified" in any advertising for
his or her practice only if the specialty board that conferred the certification and the
certifying organization is a member board of the American Board of Medical
Specialties (ABMS), or the American Osteopathic Association Bureau of
Osteopathic Specialists (BOS), or is the American Board of Oral and Maxillofacial
Surgery.

(d) The terms "board eligible," "board qualified," or any similar words or phrase
calculated to convey the same meaning may not be used in physician advertising.

29. Dr. Huma Haider’s advertising lists Board Certifications she does not have, in violation of
Texas Administrative Code §164.4(a). Dr. Haider also repeatedly utilizes the term “board
eligible” in her advertising in violation of the Texas Administrative Code §164.4(d) .

30. The Texas Administrative Code §164.3, in parts relevant to claims against Dr. Huma
Haider, states as follows:

a) No physician shall disseminate or cause the dissemination of any advertisement
that is in any way false, deceptive, or misleading. Any advertisement shall be
deemed by the board to be false, deceptive, or misleading if it:

(2) contains material implied false claims or implied misrepresentations of
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material fact;
(10) causes confusion or misunderstanding as to the credentials, education, or
licensure of a health care professional;

31. Dr. Haider advertises that she is a Certified Physician Life Care Planner but she neither
possesses the required qualifications for certification nor is she certified by the CPLCP
Certification Board.

V. DAMAGES

For the reasons set forth above, Relators herein, on behalf of the United States
Government , respectfully request this Court to find that Defendants have damaged the United States
Government as a result of their conduct under the False Claims Act, the Federal Stark Law and Anti-
Kickback Statute, The RICO Act and the Lanham Act. Relators pray that judgment be entered
against Defendants for all applicable damages recoverable under their Federal claims, including but

not limited to the following:

Federal False Claims Act Violations

a. Actual damages in an amount sufficient to reimburse the Government of the
United States for all false claims paid by the Medicare Program; and

b. Civil Penalties in the amount of three times the actual damages suffered by the
Government of the United States; and

c. Civil Monetary Penalties as provided for by the False Claims Act of a minimum of
$10,957 per claim up to a maximum of $21,916 per claim; and

d. Reimbursement of costs, expenses and attorney’s fees.

Federal Stark Law and Anti-Kickback Statute

a. Actual damages in an amount sufficient to reimburse the Government of the United
States for all violations Stark Law and Anti-Kickback Statute; and

b. Civil Penalties in the amount of three times the actual damages suffered by the
Government of the United States; and

c. Additional Civil Monetary Penalties as provided for by the Anti-Kickback Law
which permits Civil fines up to $50,000.
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Federal Racketeering Act - “RICO Act”

a. Actual damages in an amount sufficient to reimburse the Government of the United
States for all violations of the Federal Racketeering Act; and

b. Civil Penalties in the amount of three times the actual damages suffered by the
Government of the United States;

The Lanham Act

a. Actual damages in an amount sufficient to reimburse the Government of the United
States for all violations of the Lanham Act; and

b. Civil penalties in the amount of three times the actual damages suffered by the
Government of the United States:

Texas Medicaid Fraud Prevention Act

a. Actual damages in an amount sufficient to reimburse the State of Texas for all
violations of the Texas Medicaid Fraud Prevention Act;

b. Interest on the amount of actual damages awarded at the prejudgment interest rate in
effect on the day the payment or benefit was received or paid, for the period from the
date the benefit was received or paid to the date that the state recovers the amount of
the payment or value of the benefit;

c. A civil penalty of not less than $5,500 or the minimum amount imposed as provided by 31
U.S.C. Section 3729(a), if that amount exceeds $5,500, and not more than $11,000 or the
maximum amount imposed as provided by 31 U.S.C. Section 3729(a), if that amount exceeds
$11,000, for each unlawful act committed by the person that does not result tn injury to a
person described by Paragraph (A); and

d. Two times the amount of the payment or the value of the benefit determined as Actual
Damages.

Texas Medical Assistance Program

a. Actual damages plus interest on that amount determined at the rate provided by law for
legal judgments and accruing from the date on which the payment was made; and
b. Payment of an administrative penalty of an amount not to exceed twice the amount

paid as a result of each violation; plus
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c. A penalty for each violation which is not less than $5,000 or more than $15,000 for
each violation that results in injury to an elderly person, a person with a disability, or a
person younger than 18 years of age; or, not more than $10,000 for each violation that

does not result in injury to a person described as an elderly person, a person under 18,
or a person with a disability.

Texas Patient Solicitation Act

a. A civil penalty of not more than $10,000 for each day of violation and each act of
violation; plus

b. Reasonable expenses incurred in obtaining civil penalties, including investigation costs,

court costs, reasonable attorney's fees, witness fees, and deposition expenses.

False Advertising

a. A civil penalty of not more than $10,000 for each day of violation and each act of
violation; plus

b. Reasonable expenses incurred in obtaining civil penalties, including investigation costs,

court costs, reasonable attorney's fees, witness fees, and deposition expenses.

Relators, on behalf of the United States of America and the State, further pray for all other relief
both in equity or at law to which they may be justly entitled.

Respectfully submitted by,

MARTY HERRING & ASSOCIATES

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n M. Herring, OF Counse/]
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CERTIFICATE OF SERVICE

On September 27, 2019, copies of the foregoing Complaint, was served on the United States of
America and the State of Texas by sending them by certified U.S. mail, postage prepaid and return
receipt requested, to each of the persons listed below:

William Pelham Barr Ryan K. Patrick

Attorney General U.S. Attorney's Office
Department of Justice Southern District of Texas
950 Pennsylvania Avenue, NW 1000 Louisiana, Ste. 2300
Washington, DC 20530-001 Houston, TX 77002

Ken Paxton

Texas Attorney General

Office of the Attorney General

300 West 15" Street

Austin, Texas 78701 .

Date: 7-47-2019 __ Mn !

 

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